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 1   LAW OFFICE OF DAVID A. TORRES
     Attorney at Law, SBN 135059
 2   1318 “K” Street
     Bakersfield, CA 93301
 3   Ph.: (661) 326-0857
     Fax.: (661) 326-0936
 4   e-mail:lawtorres@aol.com

 5   Attorney for Defendant
     ERISHENIQUA D. DIXON
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 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                              Case No.:12-CR-00301 AWI
12
                                         PLAINTIFF,        STIPULATION AND
13                                                         ORDER TO CONTINUE
                                                           SENTENCING
14
     vs.
15
     ERISHENIQUA D. DIXON,
16
                                         DEFENDANT,
17

18   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT FOR EASTERN DISTRICT

19   OF CALIFORNIA, HONORABLE ANTHONY W. ISHII , AND ASSISTANT U.S. ATTORNEY

20   KIRK SHERRIFF:

21            Defendant, ERISHENIQUA D. DIXON by and through her attorney of record, DAVID A.

22   TORRES, and KIRK SHERRIFF of the United States Attorney’s Office, hereby stipulate the

23   Sentencing currently set for Monday June 3, 2013 at 10: 00 a.m. be continued to Monday June 10,

24   2013 at 10 a.m.

25            I request additional time to discuss the PSI report with Ms. Dixon. It has been difficult to

26   contact her since she delivered her child.

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     Stipulation to continue status conference
     Case 1:12-cr-00301-LJO-BAM Document 89 Filed 05/30/13 Page 2 of 3


 1            Based upon the foregoing, I respectfully request that this matter be continued to Monday June

 2   10, 2013.

 3            The parties also agree the delay resulting from the continuance shall be excluded in the

 4   interests of justice pursuant to 18 U.S.C. § 3161 (h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).

 5

 6   Dated: 05/30/2013                                      By/s/ David A. Torres
                                                            DAVID A. TORRES,
 7                                                          Attorney for Defendant,
                                                            ERISHENIQUA D. DIXON
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     Dated: 05/30/2013                                      By /s/ Kird Edward Sherriff
11                                                          KIRK EDWARD SHERRIFF
                                                            Assistant U.S. Attorney
12                                                          Attorney for Plaintiff

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     Stipulation to continue status conference
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     Case 1:12-cr-00301-LJO-BAM Document 89 Filed 05/30/13 Page 3 of 3


 1                                                ORDER
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 3            IT IS SO ORDERED. For the reasons forth above, the continuance requested is granted

 4   for good cause. The court finds the end of justice outweigh the interests of the public and the

 5   defendant’s rights to a speedy trial. Therefore, time is excluded in the interests of justice pursuant

 6   to 18 U.S. C. §3161 (h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).

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 8   IT IS SO ORDERED.
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     Dated:      May 30, 2013
10   0m8i78                                                     SENIOR DISTRICT JUDGE
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     Stipulation to continue status conference
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